                                                UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF MICHIGAN (Detroit)

                         In re:                                            Chapter 7 No. 19-43789-mar
                         Ryan Patrick Biland
                                           Debtor.                         Hon. Mark A. Randon
                         ______________________________/

                             MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND ENTRY OF
                                  ORDER WAIVING THE PROVISION OF FRBP 4001(A)(3)

                                NOW COMES Nationstar Mortgage LLC d/b/a Mr. Cooper , by and through its

                         attorneys, Trott Law, P.C., and shows unto this Honorable Court as follows:

                                1. That Movant is a holder of a mortgage on property owned by the Debtor(s) and

                         located at 3804 Abbottsford Rd, Clyde, MI 48049 (see attached copy of loan

                         document(s));

                                2. That the Debtor(s) filed Chapter 7 Bankruptcy on March 15, 2019;

                                3. That pursuant to 11 U.S.C. § 362(d)(1), upon request of a party in interest, the

                         court shall grant relief from stay for cause, including lack of adequate protection of such

                         party in interest;

                                4. That pursuant to the mortgage agreement, the Debtor(s) are required to remit

                         monthly payments to Movant currently in the amount of $1,638.90;

                                5. That Trott Law, P.C. has been informed by Movant that, the Debtor(s) has failed

                         to remit the required payments;
   TROTT LAW, P.C.
 31440 NORTHWESTERN             6. That Movant is not adequately protected as the direct payments are not being
         HWY
       STE. 145
FARMINGTON HILLS, MI     remitted and as of April 9, 2019 the loan is currently twelve (12) months in default, due
      48334-5422
  PHONE 248.642.2515
FACSIMILE 248.642.3628   and owing for May 1, 2018. At the time of the default, the payment amount was

                         $1,638.90. Payment amounts may have changed since that time;

                                7. That pursuant to the Statement of Intention, the subject property is to be

                         surrendered;




               19-43789-mar       Doc 14      Filed 04/10/19    Entered 04/10/19 13:44:35        Page 1 of 5
                               8. That pursuant to 11 U.S.C. § 362(d)(2)(A) and (B), the Court shall grant relief

                         from the stay if the Debtors do not have any equity in the property and the property is not

                         necessary to an effective reorganization;

                               9. That the approximate market value of the subject property is $196,000.00,

                         according to Schedule A/B;

                               10. That as of April 9, 2019, the total debt owing to Movant was approximately

                         $214,890.38, which includes Movant's attorney fees and costs for filing this motion;

                               11. That no other party has an interest in the subject property to the knowledge and

                         belief of Movant;

                               12. That no other creditor will receive any benefit from the sale of the subject

                         property;

                               13. Movant requests termination of the automatic stay of 11 U.S.C. § 362(a) to

                         allow Movant (and any successors or assigns) to proceed under applicable non-bankruptcy

                         law to enforce its remedies to foreclose upon and/or obtain possession of the property.

                               14. That in the event the automatic stay is terminated to allow Movant to commence

                         or continue its federal and/or state law rights as to the property, and Movant deems the

                         property is physically abandoned by the debtor(s)/homeowner(s), or by consent of the

                         debtor(s)/homeowner(s), Movant may also seek to shorten the Michigan post foreclosure

   TROTT LAW, P.C.       statutory redemption period. A Chapter 7 Trustee may have the same rights and defenses
 31440 NORTHWESTERN
         HWY
       STE. 145          as the Debtor(s) should Movant seek to shorten the redemption period.
FARMINGTON HILLS, MI
      48334-5422
  PHONE 248.642.2515           15. That Movant and/or its successors and assigns further seeks relief in order to, at
FACSIMILE 248.642.3628

                         its option, offer, provide and enter into any potential forbearance agreement, loan

                         modification, refinance agreement, deed in lieu of foreclosure/short sale, or other loss

                         mitigation solution. That Movant may contact the Debtor via telephone or written

                         correspondence to offer such an agreement. Any such agreement shall be non-recourse

                         unless included in a reaffirmation agreement.

               19-43789-mar       Doc 14     Filed 04/10/19     Entered 04/10/19 13:44:35        Page 2 of 5
                                16. That pursuant to Local Bankruptcy Rule 9014-1(b)(1), attached is a copy of the

                         proposed ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY AND

                         WAIVING THE PROVISION OF FRBP 4001(a)(3) labeled as Exhibit "1";

                                17. That in the event a hearing on this motion is held and after said hearing the

                         Court orders submission of an order in substantial compliance with Exhibit 1, presentment

                         of said order shall be waived;

                                18. Concurrence from debtor's attorney and from Chapter 7 trustee was sought by

                         Movant's attorney's office on March 22, 2019 and concurrence was not able to be obtained

                         from all parties.

                                WHEREFORE, Movant respectfully requests that the Court enter an ORDER

                         GRANTING RELIEF FROM THE AUTOMATIC STAY AND WAIVING THE

                         PROVISION OF FRBP 4001(a)(3) for good cause shown pursuant to 11 U.S.C. §362(d)(1)

                         and/or (d)(2), and that the Order is effective immediately upon entry by this Court

                         notwithstanding the provision of FRBP 4001(a)(3); and whatever other relief the Court

                         deems just and equitable.

                                                                           Respectfully Submitted,
                                                                           Trott Law, P.C.

                         Dated: April 9, 2019

                                                                           /S/ John P. Kapitan (P61901)
   TROTT LAW, P.C.                                                         /S/ Crystal L. Price (P69921)
 31440 NORTHWESTERN                                                        /S/ Shawn C. Drummond (P58471)
         HWY
       STE. 145                                                            Attorney for Nationstar Mortgage LLC
FARMINGTON HILLS, MI                                                       d/b/a Mr. Cooper
      48334-5422
  PHONE 248.642.2515                                                       31440 Northwestern Hwy Ste. 145
FACSIMILE 248.642.3628                                                     Farmington Hills, MI 48334-5422
                                                                           248.642.2515
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                         Trott #487114B03




               19-43789-mar       Doc 14     Filed 04/10/19     Entered 04/10/19 13:44:35        Page 3 of 5
                                                 EXHIBIT 1

                             UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN (Detroit)

         In re:                                              Chapter 7 No. 19-43789-mar
         Ryan Patrick Biland
                           Debtor.                           Hon. Mark A. Randon
         ______________________________/

                  ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY
                     AND WAIVING THE PROVISION OF FRBP 4001(a)(3)

               Movant, Nationstar Mortgage LLC d/b/a Mr. Cooper , by and through its attorneys,

        Trott Law, P.C., having filed a Motion For Relief From The Automatic Stay with respect to

        the property located at 3804 Abbottsford Rd, Clyde, MI 48049; and the approximate market

        value of the property is $196,000.00 according to Schedule A/B; and as of April 9, 2019, the

        debt owing was approximately $214,890.38, which includes Movant’s Attorney fees and

        costs for filing this Motion; and any surplus on the sale of this property shall be distributed

        pursuant to applicable state law and procedures; and any deficiency on the sale of this

        property shall be treated as an unsecured debt; and the Court being in receipt of the Motion,

        and the Court being fully advised in the premises:

               IT IS HEREBY ORDERED that the Automatic Stay is hereby terminated as to

        Movant with respect to the property located at 3804 Abbottsford Rd, Clyde, MI 48049-3604

        to allow Movant to commence or continue its federal and/or state law rights to the property.

        In the event Movant deems the property is physically abandoned by the

        debtor(s)/homeowner(s), or by consent of the debtor(s)/homeowner(s), Movant may also

        seek to shorten the Michigan post foreclosure statutory redemption period. A Chapter 7

        Trustee may have the same rights and defenses as Debtor(s) should Movant seek to shorten

        the redemption period. Movant and/or its successors and assigns may, at its option, offer,

        provide and enter into a potential forbearance agreement, loan modification, refinance

        agreement, deed in lieu of foreclosure/short sale or other loss mitigation solution. The

       Movant may contact the Debtor via telephone or written correspondence to offer such an
19-43789-mar Doc 14 Filed 04/10/19 Entered 04/10/19 13:44:35 Page 4 of 5
      agreement. Any such agreement shall be non-recourse unless included in a reaffirmation

      agreement. This Order is effective immediately upon entry by this Court notwithstanding

      the provision of FRBP 4001(a)(3). This Order shall be binding and effective despite any

      conversion of this bankruptcy case to a case under any other chapter of Title 11 of the United

      States Bankruptcy Code.




19-43789-mar   Doc 14     Filed 04/10/19     Entered 04/10/19 13:44:35        Page 5 of 5
